        Case 2:21-mc-01230-JFC Document 2419 Filed 01/08/24 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             :
IN RE: PHILIPS RECALLED CPAP,                :    Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL                 :
VENTILATOR PRODUCTS                          :    MDL No. 3014
LITIGATION                                   :
                                             :
This Document Relates to:                    :
                                             :
Consolidated Second Amended Class            :
Action Complaint for Medical Monitoring      :
and Demand for Jury Trial (ECF No. 815)      :
                                             :


 PHILIPS RS NORTH AMERICA LLC’S MOTION FOR LEAVE TO FILE REPLY IN
 SUPPORT OF ITS OBJECTIONS TO SPECIAL DISCOVERY MASTER’S REPORT
    AND RECOMMENDATION AND PROPOSED ORDER RE: DISCOVERY OF
  MEDICAL MONITORING NAMED PLAINTIFFS’ MEDICAL HISTORIES AND
           PREVIOUS EXPOSURES TO HAZARDOUS SUBSTANCES

       Pursuant to Rule 4 of the Court’s Pretrial Procedure for Civil Cases, Philips RS North

America LLC (“Philips RS”) respectfully requests that this Court grant it leave to file a succinct,

two-page reply in support of its Objections to Special Discovery Master’s Report and

Recommendation and Proposed Order re: Discovery of Medical Monitoring Plaintiffs’ Medical

Histories and Previous Exposures to Hazardous Substances (“Objections”) (ECF No. 2376).

Plaintiffs’ Response in Opposition to Philips RS’s Objections (“Response”) (ECF No. 2402)

contains factual misrepresentations regarding Plaintiffs’ document productions to date. Philips RS

raised these inaccuracies with Plaintiffs to provide them with a chance to correct the record or

consent to this motion, but Plaintiffs declined—instead stating that “potential misapprehension can

be resolved at oral argument on January 25.” See E. Avery Email to E. Attridge dated January 3,

2024 (without attachments) at 1, attached as Exhibit 1. Therefore, Philips RS respectfully requests
        Case 2:21-mc-01230-JFC Document 2419 Filed 01/08/24 Page 2 of 3




leave to file a short reply, a copy of which is attached as Exhibit 2, to correct the record following

Plaintiffs’ inaccuracies.

 Dated: January 8, 2024                               Respectfully Submitted,

                                                      /s/ Wendy West Feinstein
                                                      John P. Lavelle, Jr. (PA54279)
                                                      john.lavelle@morganlewis.com
                                                      Lisa C. Dykstra (PA67271)
                                                      lisa.dykstra@morganlewis.com
                                                      MORGAN, LEWIS & BOCKIUS LLP
                                                      2222 Market Street
                                                      Philadelphia, PA 19103-3007
                                                      Tel: 215.963.5000

                                                      Wendy West Feinstein (PA86698)
                                                      wendy.feinstein@morganlewis.com
                                                      MORGAN, LEWIS & BOCKIUS LLP
                                                      One Oxford Center, 32nd Floor
                                                      Pittsburgh, PA 15219-6401
                                                      Tel: 412.560.3300

                                                      Counsel for Defendant Philips RS North
                                                      America LLC




                                                  2
       Case 2:21-mc-01230-JFC Document 2419 Filed 01/08/24 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2024, the foregoing document was electronically filed

with the Clerk of the Court and served upon counsel of record through the Court’s ECF system.


                                                   /s/ Wendy West Feinstein
                                                   Wendy West Feinstein
